.`- UNITED STA'I`ES DISTRICT COURT

SoUTHERN DrsTRICT oF TEXAS §?Y§ titan
. HoUsToN nrvlsloN *_ "3
JUL 2?2018
UNITED srArEs oF AMERICA § QFWMMM ammann
v. § Case No.:
§
JosE MANUEL GoNzALEZ TEerNo uNDER sEAL

HtS-isosm

COMES NOW the United States of America, by and through its United States

MOTION TO SEAL

Attorney for the Southern District ofTexas and the Acting Chief of the Fraud Section
of the United States Department of Justice, and respectfully requests that the Court
enter an Order directing the Clerk of the Court to seal the Criminal Complaint, Arrest
Warrant, Aftidavit, this Motion, and the accompanying Order.

The requested sealingr Will protect the integrity of the ongoing investigation
of Defendant Jose l\/Ianuel Gonzalez Testino and others. Any disclosure of the
Criminal Complaint or other documents listed above may cause the defendant or
others to flee the jurisdiction of the Court or destroy evidence In addition, the
United States requests that the Court order that the United States Attorneys Oftice

may obtain copies of the sealed documents upon request to the Clerk’s Oftice.

Respectfully submitted,

RYAN K. PATRICK
UNITED STATES ATTORNEY

John P. Pearson
Robert S. Johnson
Assistant United States Attorneys

sANDRA MosER
ACTING cHIEF, FRAUD sECnoN

U.S. DEPT. OF IUSTICE

144 /Z

Jet{emy R. §anders
Sarah E. Edwards
Trial Attorneys, U.S. Dept. of Justice

\_.

